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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: June 9, 2020

* * * * * * * *                     *    *    *   *    *
SALLY BELLSNYDER,                                      *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 18-205V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Stipulation for Award;
AND HUMAN SERVICES,                                    *                 Influenza (“flu”) Vaccine;
                                                       *                 Shoulder Injury Related to
                                                       *                 Vaccine Administration (“SIRVA”).
                  Respondent.                          *
*    * *     *    * * * *           *    *    *   *    *

Shealene P. Mancuso, Muller Brazil, Dresher, PA, for petitioner.
Mollie D. Gorney, U.S. Department of Justice, Washington, D.C., for respondent.

                                     DECISION FOR STIPULATION1

        On February 9, 2018, Sally Bellsnyder (“petitioner”), filed a petition for compensation
under the National Vaccine Injury Program.2 Petition at Preamble (ECF No. 1). Petitioner
received an influenza (“flu”) vaccine on October 21, 2016. Stipulation at ¶ 2 (ECF No. 49).
Petitioner alleges that as a result of receiving the flu vaccine, she suffered a Shoulder Injury
Related to Vaccine Administration (“SIRVA”). Id.; Stipulation at ¶ 4.

         On June 9, 2020, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Respondent denies that the flu vaccine is the cause
of petitioner’s alleged injuries, or any other injury or her current condition. Id. at ¶ 6.
Nevertheless, maintaining their respective positions, the parties now agree that the issues
1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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between them shall be settled and that a decision should be entered awarding the compensation
to the petitioner according to the terms of the stipulation attached hereto as Appendix A. Id. at ¶
7.

        The stipulation provides:

        1) A lump sum of $42,500.00, in the form of a check payable to petitioner. This
           amount represents compensation for all damages, including pain and suffering
           and past unreimbursable expenses that would be available under 42 U.S.C. §
           300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The Clerk of the Court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                                                s/Thomas L. Gowen
                                                                                Thomas L. Gowen
                                                                                Special Master




3
 Entry of judgment is expediated by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).
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